    Case 2:23-cv-06737-EEF-DPC             Document 1        Filed 11/07/23     Page 1 of 10




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA


 IN RE: THE MATTER OF LA CARRIERS,                           CIVIL ACTION NO.:
 LLC, AS OWNER AND OPERATOR OF THE
 M/V SIDNEY BLAIR, PETITIONING FOR                           SECTION:
 EXONERATION FROM OR LIMITATION
 OF LIABILITY                                                JUDGE:

                                                             MAGISTRATE JUDGE:

                                                             ADMIRALTY - Rule 9(h)


                        COMPLAINT FOR EXONERATION FROM
                           OR LIMITATION OF LIABILITY

       NOW INTO COURT, through undersigned counsel, comes LA Carrier, LLC (hereinafter

“LA Carriers” or “Limitation Petitioner”), as owner and operator of the M/V SIDNEY BLAIR,

her engines, tackle, gear, furniture, appurtenances, etc. (hereinafter “the Vessel”), who files this

Complaint for Exoneration From or Limitation of Liability pursuant to 46 U.S.C. § 30511, and

respectfully avers upon information and belief as follows:

                                JURISDICTION AND VENUE

                                                 1.

       This is an action for exoneration from or limitation of liability, civil and maritime, under

the purview of 46 U.S.C. §§ 30501, et seq. (the "Limitation Act"), and an admiralty and maritime

claim within the meaning of Rule 9(h) of the Federal Rules of Civil Procedure. This action is

governed by Rule F of the Supplemental Rules for Admiralty or Maritime Claims of the Federal

Rules of Civil Procedure. This Honorable Court has jurisdiction over this action by virtue of the

Limitation Act and by virtue of 28 U.S.C. § 1333.




                                                 1
    Case 2:23-cv-06737-EEF-DPC              Document 1        Filed 11/07/23       Page 2 of 10




                                                  2.

       The Vessel has not been attached or arrested to answer for any claim with respect to which

Limitation Petitioner seeks exoneration from or limitation of liability through these proceedings.

As of the date of this filing, Limitation Petitioner has been put on notice for property damages

arising out of an incident that occurred on May 1, 2023 in Larose, Louisiana. Accordingly, Venue

is therefore proper in the United States District Court for the Eastern District of Louisiana, pursuant

to Rule F(9) of the Supplemental Rules for Certain Admiralty and Maritime Claims.

                                  LIMITATION PETITIONER

                                                  3.

       At all times pertinent hereto, Limitation Petitioner, LA Carriers, LLC, (hereinafter “LA

Carriers” or “Limitation Petitioner”) was and is a limited liability company organized and existing

pursuant to the laws of the State of Louisiana. Limitation Petitioner is authorized to do and doing

business within the jurisdiction of this Honorable Court and the state of Louisiana.

                                                  4.

       At all material times, LA Carriers was the operator of the Vessel.

                                           THE VESSEL

                                                  5.

       The M/V SIDNEY BLAIR (hereinafter sometimes “SIDNEY BLAIR” or “the Vessel”),

Official No. 644920, is a U.S.-flagged towing vessel measuring seventy-five (75) total feet in

length, twenty-seven (27) feet in width, and ten (10) feet in depth. The Vessel was built in 1981

and recently rebuilt in 2019. The Vessel primarily operates as a hawser tug.

                                                  6.

       At all times during and prior to the voyage hereinafter described, LA Carriers exercised

due diligence to make the Vessel seaworthy in all respects. At all times hereinafter described, the


                                                  2
    Case 2:23-cv-06737-EEF-DPC              Document 1        Filed 11/07/23       Page 3 of 10




Vessel was, in fact, tight, staunch, strong, fully and properly equipped and manned, well and

sufficiently fitted with suitable machinery, gear, tackle, apparel, and appliances, and in all respects

seaworthy and fit and proper for the service in which the Vessel was engaged.

                                   FACTUAL BACKGROUND

                                                  7.

       At all material times, LA Carriers was and is a towing company offering services for ship

docking, and inland and offshore towing.

                                                  8.

       On or around May 1, 2023, the SIDNEY BLAIR, along with the tug M/V ANGELIQUE,

owned and operated by Louisiana Delta Marine, LLC, were jointly shifting the M/V ODYSSEA

KNIGHT off of a dry dock in the Allied Shipyard in Larose, Louisiana. The M/V ODYSSEA

KNIGHT is an offshore supply vessel. The SIDNEY BLAIR and the M/V ANGELIQUE were

shifting the M/V ODYSSEA KNIGHT off of the dry dock. LA Carrier has since been put on notice

that the M/V ODYSSEA KNIGHT was allegedly damaged when the SIDNEY BLAIR and the

M/V ANGELIQUE were in the process of shifting the ODYSSEA KNIGHT.

                                                  9.

       Upon information and belief, no other suits or Limitation proceedings related to this alleged

May 1, 2023 incident have been filed.

                                                 10.

       LA Carriers hereby seeks exoneration from and/or limitation of liability for the May 1,

2023 incident in Larose, Louisiana described herein (hereinafter “the Incident”).




                                                  3
    Case 2:23-cv-06737-EEF-DPC             Document 1       Filed 11/07/23     Page 4 of 10




                 EXONERATION AND/OR LIMITATION OF LIABILITY

                                               11.

       This Complaint is filed timely under Admiralty Rule F(1), because it was filed within six

months from the date LA Carriers received written notice of a claim on May 9, 2023, namely when

Patriot Marine Services, Inc. sent LA Carriers a letter informing it of damages sustained by the

M/V ODYSSEA KNIGHT and allegedly caused by the SIDNEY BLAIR and the M/V

ANGELIQUE, owned and operated by Louisiana Delta Marine, LLC. (See Letter from Patriot

Marine attached hereto as Exhibit 1).

                                               12.

       The aforementioned Incident, and any losses, and/or damages allegedly resulting

therefrom, were not caused or contributed to by any fault, neglect, negligence, or lack of due care

on the part of LA Carriers, its agents, servants, employees, or any other persons for whom LA

Carriers might be responsible, or by any unseaworthiness of the Vessel.

                                               13.

       LA Carriers is, as of this date, unaware of any other demands, suits, petitions, unsatisfied

claims of liens, or liens filed against LA Carriers or the Vessel in connection with the Incident

made the subject of this Complaint.

                                               14.

       LA Carriers is entitled to exoneration and/or limitation under the circumstances.

                                               15.

       The Incident, any physical damage, injuries, contingent losses as well as all other losses,

damages, expenses, and costs resulting therefrom were caused and occurred without the privity or

knowledge of LA Carriers.




                                                4
     Case 2:23-cv-06737-EEF-DPC               Document 1       Filed 11/07/23     Page 5 of 10




                                                   16.

           LA Carriers has a reasonable basis upon which to believe it is possible that claims will be

asserted and prosecuted against it in amounts exceeding the value of the Vessel and their pending

freight.

                                                   17.

           The fair market value of the Limitation Petitioner’s interest in the SIDNEY BLAIR at the

time of the incident was ONE MILLION FIVE HUNDRED AND FIFTY THOUSAND

DOLLARS AND NO/100 ($1,550,000.00) US DOLLARS total, and she had no pending freight.

Accordingly, the total value of Limitation Petitioner’s interest in the SIDNEY BLAIR, and her

pending freight is $1,550,000.00. (See Declaration of Value attached hereto as Exhibit 2).

                                                   18.

           LA Carriers avers that because the aforementioned Incident and the alleged losses,

damages and/or injuries allegedly related thereto were not caused or contributed to by any fault,

neglect, negligence or lack of due care on the part of LA Carriers or its agents, servants, employees,

or any other persons for whom LA Carriers might be responsible, or by any unseaworthiness of

the Vessel, LA Carriers is entitled to and hereby claims exoneration from liability for any and all

alleged injuries, losses or damages allegedly occurring as a result of the aforesaid Incident, as well

as any and all claims related to the Incident that have yet to be asserted. LA Carriers avers that it

has valid and complete defenses on the facts and on the law.

                                                   19.

           Although LA Carriers denies any liability to any party, and although LA Carriers does not

know the extent, nature or total amount of all claims which may be made for loss or damage arising

out of the Incident described above. LA Carriers anticipates and believes that suits and claims will




                                                    5
    Case 2:23-cv-06737-EEF-DPC              Document 1        Filed 11/07/23       Page 6 of 10




be asserted and prosecuted against LA Carriers in amounts exceeding the value of the Vessel at

the conclusion of the voyage during which the aforementioned Incident took place.

                                                 20.

       As such, without admitting but affirmatively denying all liability, and strictly in the

alternative to its claim for exoneration from all liability, losses, damages and/or injuries allegedly

occasioned by or resulting from the aforesaid Incident, or allegedly done, occasioned, or incurred

on the subject voyage, LA Carriers alleges and avers that if LA Carriers should be held responsible

to any person, entity or other party by reason of any fault attributed to LA Carriers, its agents,

servants, employees, or others for whom LA Carriers could be held responsible, or to the Vessel,

in connection with the above-described Incident, then LA Carriers is entitled to and claims the

benefit of limitation of liability as provided in the Limitation of Liability Act, 46 U.S.C. §§ 30501,

et seq., and all laws supplementary thereto and amendatory thereof, and all other applicable law

and jurisprudence, to limit its liability to ONE MILLION FIVE HUNDRED AND FIFTY

THOUSAND DOLLARS AND NO/100 ($1,550,000.00) US DOLLARS, the value of LA

Carriers’ interest in the Vessel immediately before and after the Incident.

                                                 21.

       Should it later appear that Limitation Petitioner is or may be liable and that the amount or

value of its interest in the Vessel and her pending freight, as aforesaid, is not sufficient to pay all

losses in full, then all claimants shall be made to share pro rata in the aforesaid sum, saving to all

such claimants any rights of priority they may have as ordered by this Honorable Court, or as

provided by the aforesaid statutes, by the Federal Rules of Civil Procedure, the General Maritime

Law, and by the rules and practices of this Honorable Court.




                                                  6
    Case 2:23-cv-06737-EEF-DPC              Document 1        Filed 11/07/23      Page 7 of 10




                                                 22.

       LA Carriers reserves the right to plead all applicable affirmative defenses, claims, cross-

claims and counterclaims against any claimant, including but not limited to the right to plead set

off, the right to plead comparative fault, the right to plead compromise and settlement, the right to

plead that the incident was unavoidable by LA Carriers, the right to plead the Act of God defense,

the right to plead that the Incident resulted from violations of law or permits by other parties or

particular claimants, the right to plead that the particular claimants have no right to pursue claims

for the alleged unseaworthiness of the Vessel, and the right to file cross-claims and/or third-party

actions for damages or for indemnity or contribution against all persons and entities that may be

legally responsible for the Incident described herein.

                                                 23.

       With this Complaint, Limitation Petitioner seeks to preserve its right to limit its liability

within the six month deadline from written notice as required by Supplemental Rule F(1) of the

Supplemental Rules for Certain Admiralty and Maritime Claims. Limitation Petitioner is currently

in the process of obtaining security and/or a bond and will deposit the proper security with the

Court within thirty (30) days of the filing of this Complaint. It is not a jurisdictional prerequisite

to claim the benefits of the Limitation Act that security be posted simultaneously with the

complaint or within six months of notice of a claim. Guey v. Gulf Insurance Co., 46 F.3d 478, 481

(5th Cir. 1995). Pursuant to Supplemental Rule F(1), it is within the full discretion of the district

court to direct Limitation Petitioner when to post security and the amount required. Id. This

Complaint is being filed due to the requirement that such actions be filed within six months of

notice of a claim subject to limitation. Once the security is posted, the limitation action may move




                                                  7
    Case 2:23-cv-06737-EEF-DPC             Document 1       Filed 11/07/23     Page 8 of 10




forward in typical fashion with the issuance of an injunction and concursus of claims and notice

to claimants with the deadline in which claimants may file against Limitation Petitioner.

                                                24.

       All and singular, the premises are true and correct and within the admiralty and maritime

jurisdiction of the United States and of this Honorable Court as an admiralty and maritime claim

within the meaning of Rule 9(h) of the Federal Rules of Civil Procedure.

       WHEREFORE, PREMISES CONSIDERED, Limitation Petitioner, LA Carriers, LLC

respectfully requests and prays:

       1.      That this Honorable Court enter an order approving a temporary dispensation from

security. That Limitation Petitioner shall post the security required by 46 U.S.C. § 30511(b) and

Supplemental Admiralty Rule F(1) within thirty (30) days from filing this action;

       2.      That once the Limitation Petitioner posts security, this Honorable Court issue a

monition and notice to all persons, firms, corporations or other entities asserting any claims for

any and all alleged losses, damages or injuries with respect to which LA Carriers, LLC seeks

exoneration from or limitation of liability, admonishing them to file their respective claims with

the Clerk of Court and to serve on the attorneys for LA Carriers, LLC a copy thereof on or before

the date specified in the notice, or be forever barred and permanently enjoined from making and

filing any claims with respect to the Incidents described more fully herein;

       3.      That once the Limitation Petitioner posts security, this Honorable Court issue an

injunction restraining the commencement or prosecution of any action or proceeding of any kind

against LA Carriers, LLC its affiliates, their employees, its or their insurers, sureties, or

underwriters, or any of its property, including but not limited to the M/V SIDNEY BLAIR,

whether in personam, by attachment, or in rem, for any losses, damages, and/or injuries allegedly




                                                 8
    Case 2:23-cv-06737-EEF-DPC             Document 1       Filed 11/07/23      Page 9 of 10




arising out of the Incident described in this Complaint, or allegedly occurring during the subject

Incident described in this Complaint;

       4.      That if any claimant who shall have filed a claim shall also file an exception

bringing forward evidence to controvert the value of the Vessel, as alleged herein, this Court shall

cause due appraisement to be had of the value of the Vessel following the Incident and of the value

of LA Carriers, LLC’s interest therein, following which event this Court shall, if necessary, enter

an Order for filing of an amended Letter of Undertaking or other appropriate security for the

aggregate value, as so determined, of LA Carriers, LLC’s interest in said Vessel;

       5.      That this Honorable Court adjudge that LA Carriers, LLC, its affiliated companies,

employees, its or their insurers, sureties, and underwriters, the M/V SIDNEY BLAIR, are not liable

to any extent whatsoever for any losses, damages and/or injuries or for any claims therefor, in any

way arising from or in consequence of the subject voyage, or in consequence of otherwise

connected with the matters and happenings referred to in this Complaint;

       6.      Or, strictly in the alternative, if this Court should adjudge that LA Carriers, LLC,

its affiliates, employees, or its or their insures or underwriters, and/or the M/V SIDNEY BLAIR

are liable in any amounts whatsoever, that the Court should then adjudge that said liability shall

be limited to ONE MILLION FIVE HUNDRED AND FIFTY THOUSAND DOLLARS AND

NO/100 ($1,550,000.00) US DOLLARS, the value of LA Carriers, LLC’s interest in the Vessel

immediately after the Incident, said amount to be divided pro rata among all claimants; and that a

judgment be entered discharging LA Carriers, LLC, its affiliates, employees and its and their

insurers and underwriters, and the M/V SIDNEY BLAIR of and from any and all further liability

and forever enjoining and prohibiting the filing and prosecution of any claims against LA Carriers,

LLC, its affiliates, employees, its or their insurers, sureties, or underwriters, or any of their




                                                 9
      Case 2:23-cv-06737-EEF-DPC            Document 1           Filed 11/07/23   Page 10 of 10




property, in any way arising from or in consequence of the subject Incident or Voyage, or in

consequence of or in connection with the matters and happenings referred to in this Complaint;

and

        7.      That LA Carriers, LLC have such other and further relief as in law and justice it

may be entitled to receive.

                                               Respectfully submitted,

                                               /s/ Jefferson R. Tillery
                                               JEFFERSON R. TILLERY (La. Bar No. 17831)
                                               AUSTIN S. GLASCOE (La. Bar No. 38236)
                                               JONES WALKER, LLP
                                               201 St. Charles Avenue - 48th Floor
                                               New Orleans, Louisiana 70170-5100
                                               Telephone:      (504) 582-8238
                                               Facsimile:      (504) 589-8238
                                               E-Mail:         jtillery@joneswalker.com
                                                               aglascoe@joneswalker.com

                                               -And-

                                               LEXI T. HOLINGA (La. Bar No. 30096)
                                               Hinshaw & Culbertson, LLP
                                               400 Convention Street, Suite 1001
                                               Baton Rouge, Louisiana 70802
                                               Telephone: (225) 333-3244
                                               E-Mail: lholinga@hinshawlaw.com

                                               Attorneys for Limitation Petitioner, LA Carriers,
                                               LLC

                                  CERTIFICATE OF SERVICE

             I hereby certify that on this 7th day of November, 2023, a copy of the foregoing has

this date been served on all counsel of record in this proceeding via the CM/ECF system, which

will send a notice of electronic filing to all counsel record.


                                                /s/ Jefferson R. Tillery
                                               JEFFERSON R. TILLERY


                                                  10
